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                                    No. 25-11612


                   UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT

        BEAR WARRIORS UNITED, INC., a Florida Not for Profit Corporation,
                                          Plaintiff-Appellee,
                                          v.
ALEXIS LAMBERT, in her official capacity as Secretary of the FLORIDA DEPARTMENT OF EN-
                              VIRONMENTAL PROTECTION,
                                               Defendant-Appellant.

                    Appeal from the U.S. District Court for the
             Middle District of Florida, No. 6:22-cv-2048 (Mendoza, J.)

          TIME-SENSITIVE MOTION FOR STAY PENDING APPEAL



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                     No. 25-11612, Bear Warriors United v. Lambert

             CERTIFICATE OF INTERESTED PERSONS
      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit Rule

26.1-1 and 26.1-2, the undersigned counsel certifies that the following listed persons

and parties may have an interest in the outcome of this case:

 1.   Bear Warriors United, Inc. – Appellee

 2.   Blackner, Leslie G. – Counsel for Appellee Bear Warriors United

 3.   Blackner, Stone & Associates – Counsel for Appellee Bear Warriors United

 4.   Blome, Jessica L. – Counsel for Appellee Bear Warriors United

 5.   Bradford, Susann M. – Counsel for Appellee Bear Warriors United

 6.   Brown, Jeffrey – Counsel for Appellant Secretary Lambert

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 8.   Corbani, Kelley F. – Counsel for Appellant Secretary Lambert

 9.   Consovoy McCarthy PLLC – Counsel for Appellant Secretary Lambert

 10. Greenfire Law, PC – Counsel for Appellee Bear Warriors United

 11. Harris, Jeffrey M. – Counsel for Appellant Secretary Lambert

 12. Lambert, Alexis, in her official capacity as Secretary of the Florida Department
     of Environmental Protection – Appellant

 13. Mendoza, Honorable Carlos E. – Judge for the United States District Court for
     the Middle District of Florida

 14. Price, Honorable Leslie H. – Magistrate Judge for the United States District
     Court for the Middle District of Florida

 15. Rivo, Lily A. – Counsel for Appellee Bear Warriors United

 16. Venable, Nicholas B. – Counsel for Appellant Secretary Lambert



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 17. Weir, Bryan – Counsel for Appellant Secretary Lambert




Dated: May 29, 2025                        /s/ Jeffrey M. Harris
                                          Counsel for Defendant-Appellant




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                                  INTRODUCTION
       Plaintiff, an environmental organization whose members claim to have been

emotionally and financially impacted by past deaths of manatees, sued the Florida De-

partment of Environmental Protection (DEP) under the Endangered Species Act

(ESA) to prevent DEP from issuing permits for septic tanks that are allegedly contrib-

uting to manatee deaths in the Indian River Lagoon. The district court agreed down the

line, entering a sweeping injunction that unconstitutionally commandeers the wrong

state agency to implement a federal statute. Worse still, these claims should have failed

at the starting gate because the agency’s actions are too attenuated from any injuries to

manatees to support either Article III standing or proximate causation under the ESA.

       Under the district court’s injunction, DEP must create entirely new manatee

feeding, monitoring, and reporting programs just 19 days from now—something it has

never done before and is not statutorily authorized to do. Thirty days after that, DEP

will be commandeered to enforce the ESA against individual polluters by halting all

permits for new septic tanks near the Indian River Lagoon. On that same day, it must

also apply for an incidental take permit under the ESA, a course of action that will not

even redress Plaintiff’s injuries in this case.

       Those sweeping remedies are unlawful on their own terms, but no remedy should

have been ordered in the first place. Plaintiff does not have standing to obtain this

injunction because its members are not likely to be injured in a way that DEP caused

or that the injunction can address. And Plaintiff’s alleged chain of causation—from


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permits, to septic tanks, to pollutants, to food supply, to manatees—is far too attenu-

ated to give rise to liability under the ESA.

       DEP respectfully requests a stay of this extraordinary injunction pending appeal.

If the injunction goes into effect as scheduled, DEP will suffer irreparable harm in the

form of unrecoverable costs of creating new manatee programs from whole cloth. And

the equities weigh strongly against indefinitely enjoining construction by third-party

property owners who are not even parties to this litigation. A stay is also especially

appropriate given that the federal government has recently proposed regulations that

would vitiate Plaintiff’s entire theory of “indirect” harm under the ESA.

       This Court should stay the injunction pending its decision on the merits of

DEP’s appeal. Given that several key provisions of the injunction take effect on June

17, DEP respectfully requests a decision on this motion, or an administrative stay, by

that date.

                                  BACKGROUND
       DEP is the state agency vested with the “power and the duty to control and

prohibit pollution of air and water.” Fla. Stat. § 403.061. On July 1, 2021, the Florida

Department of Health transferred to DEP responsibility for “permitting, inspection,

data management, and tracking of” septic tanks. R.59-19 at 3. As part of its statutory

duty to regulate water pollution, DEP has adopted a management plan aimed at ensur-

ing that pollution in the North Indian River Lagoon does not exceed the levels ap-

proved by the U.S. Environmental Protection Agency under the federal Clean Water


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Act. R.95-2; R.94-5. DEP has no authority or expertise regarding wildlife population

management or restoration, which Florida law instead vests in the Fish & Wildlife Con-

servation Commission. Fla. Const. Art. 4 § 9; Fla. Stat. §§ 20.331, 379.2433.

      Plaintiff is an environmental group whose members are concerned about the

effects of excess nutrients released by septic tanks on the manatee population in the

Indian River Lagoon. R.59 at 4-7. They contend that excess nitrogen from septic tanks

has caused microalgae blooms that threaten seagrass levels in the lagoon, which is the

manatees’ natural food source. Id. at 10-11, 17.

      On November 4, 2022, Plaintiff sued DEP under the ESA’s citizen-suit provi-

sion. R.1. Plaintiff alleges that DEP violated the ESA by “taking” endangered manatees,

which is defined to include “harm” or “harass.” 16 U.S.C. §§ 1538(a)(1)(B), 1532(19).

Federal regulations, in turn, have interpreted the word “harm” in the “take” definition

to include “significant habitat modification or degradation….” 50 C.F.R. § 17.3. Plain-

tiff has only alleged that DEP has “taken” manatees in this indirect sense, by allowing

pollution that impairs seagrass levels in the lagoon and, in turn, affects manatees.

      DEP moved to dismiss Plaintiff’s operative complaint, arguing that it was im-

mune from suit under the Tenth and Eleventh Amendments, that Plaintiff lacked stand-

ing, and that DEP was not the proximate cause of any harm to manatees. R.64. The

parties also cross-moved for summary judgment. R.91, 92. The district court denied




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DEP’s motion to dismiss, R.112, and the parties’ motions for summary judgment, con-

cluding that a trial was necessary to establish whether there was ongoing harm or taking

of manatees, R.134 at 15.

       After a two-day bench trial, the court held that Plaintiff was entitled to judgment

and an injunction, because “legacy pollutants” in the lagoon “have caused manatee tak-

ings in the past,” and were likely to do so in the future unless DEP took affirmative

steps to curtail nitrogen introduced into the lagoon. R.172 at 12-17. On May 19, 2025,

the court entered Plaintiff’s proposed injunction essentially unchanged, R.190, without

addressing objections DEP raised in a response to the proposed injunction, R.180. DEP

has appealed both the judgment, R.181, and the injunction, R.195.

       DEP moved before the district court to stay the injunction pending appeal, re-

questing a ruling by May 28 to preserve the possibility of appellate review before the

injunction takes effect. R.191. The court denied DEP’s request for a ruling by that date

and stated that the motion would be addressed in a later order. R.193. The district

court’s denial constitutes a “fail[ure] to afford the relief requested.” Fed. R. App. P.

8(a)(2)(A)(ii).

                                   ARGUMENT
       In deciding whether to grant a stay pending appeal, “a court considers four fac-

tors: ‘(1) whether the stay applicant has made a strong showing that he is likely to suc-

ceed on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested in


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the proceeding; and (4) where the public interest lies.’” Nken v. Holder, 556 U.S. 418,

426 (2009).

   I.        DEP’s appeal is likely to succeed on the merits.
        This Court is likely to conclude that Plaintiff was not entitled to the sweeping

injunction the district court entered, for at least three independent reasons: Plaintiff

lacks Article III standing; Plaintiff failed to establish proximate causation linking any

alleged ESA violation to DEP’s actions; and the injunction violates the anti-comman-

deering doctrine.

        A. Plaintiff lacks standing to secure a prospective injunction.
        Plaintiff lacks standing to obtain the prospective injunction the district court is-

sued in this case. To establish standing, “a plaintiff must demonstrate (i) that she has

suffered or likely will suffer an injury in fact, (ii) that the injury likely was caused or will

be caused by the defendant, and (iii) that the injury likely would be redressed by the

requested judicial relief.” FDA v. All. for Hippocratic Med., 602 U.S. 367, 380 (2024). Fur-

ther, “[i]n exercising their equitable powers federal courts must recognize ‘[t]he special

delicacy of the adjustment to be preserved between federal equitable power and State

administration of its own law.’” City of Los Angeles v. Lyons, 461 U.S. 95, 112 (1983).

        1.     This Court is likely to reverse the injunction in its entirety for lack of Ar-

ticle III standing. First, Plaintiff has not shown sufficient likelihood of future injury.

The injury-in-fact requirement demands that “the injury must be actual or imminent,

not speculative—meaning that the injury must have already occurred or be likely to



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occur soon.“ All. for Hippocratic Med., 602 U.S. at 381 (citation omitted). And a plaintiff

seeking a prospective injunction must show “a sufficient likelihood that he will again

be wronged in a similar way.” Lyons, 461 U.S. at 111.

       The district court concluded that the injury-in-fact requirement was satisfied by

Plaintiff’s members who claim to have seen dead manatees or lost business from de-

clining manatee populations. R.172 at 7-8. The court concluded that “Plaintiff’s mem-

bers are like[ly] to encounter dead manatees again” and noted that Plaintiff’s expert had

seen a dead manatee calf in the months before trial. Id. at 8 & n.4.

       Those facts by themselves do not establish a sufficient likelihood of future injury.

Plaintiff’s expert could not establish that the manatee calf he saw died because of any

cause traceable to DEP’s actions or omissions. This case has focused on a manatee

Unusual Morality Event, defined under federal law as an “unexpected” “die-off of any

marine mammal population.” 16 U.S.C. § 1421h(9). But the district court acknowledged

that the Unusual Mortality Event in the Indian River Lagoon had ended and that “the

last necropsy that showed manatee emaciation occurred two years ago.” R.172 at 19.

The court nonetheless downplayed the importance of these facts because the death of

“even one” member of an endangered species constitutes a taking. Id. But the end of

the Unusual Mortality Event and the absence of any proven manatee deaths from ema-

ciation in the last two years are clearly relevant to Article III standing—i.e., the likeli-

hood that Plaintiff’s members will be injured in the future.




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       Second, Plaintiff has not established that its speculative future injuries will be

caused by DEP. “[P]laintiffs attempting to show causation generally cannot ‘rely on

speculation about the unfettered choices made by independent actors not before the

courts.’” All. for Hippocratic Med., 602 U.S. at 383. Further, “[t]he causation requirement

also rules out attenuated links—that is, where the government action is so far removed

from its distant (even if predictable) ripple effects that the plaintiffs cannot establish

Article III standing.” Id.

       The district court’s finding of present harm to Plaintiff’s members rested on

“legacy pollutants” in the Indian River Lagoon that “have caused manatee takings in

the past.” R.172 at 12-13. But DEP did not regulate septic tank permits before 2021, R.

59-19 at 3, and this regulatory handover occurred after the start of the manatee Unusual

Mortality Event that has been a focus of this litigation, R.59 ¶ 24.

       The district court concluded that the existence of “legacy pollutants” released by

third parties meant that “FDEP would have to reduce nutrients entering the IRL to a

low enough level and for a long enough time for nutrients to cycle out of the system to

allow seagrasses to return at significant levels.” R.172 at 17. In other words, the injunc-

tion requires DEP to develop and launch entirely new regulatory programs to remedy

harms previously caused by third parties not before the court, where DEP did not even

have statutory authority to regulate those activities before 2021. The ESA “requires no

affirmative conservation action by states or local governments.” Loggerhead Turtle v. Cnty.

Council of Volusia Cnty., 92 F. Supp. 2d 1296, 1308 (M.D. Fla. 2000). But that is precisely

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what the injunction demands, by compelling a state agency to take affirmative steps to

create conservation programs on a highly truncated 30-day timetable. R.190.

       Third, Plaintiff does not meet the redressability requirement for Article III stand-

ing. Redressability requires a demonstration that it is likely, not merely speculative, that

an injury will be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555,

561 (1992). Plaintiff cannot show the relief it requested is likely to prevent future harm

to its members. Given the extent of “legacy pollutants” the court found to exist in the

lagoon, R.172 at 16, it is highly speculative to conclude that forcing DEP to apply for

an incidental take permit will prevent any of Plaintiff’s members from encountering

another dead manatee. Indeed, malnutrition due to eutrophication is hardly the only

cause of manatee deaths, so Plaintiff’s members may have previously encountered (or

will encounter) manatees that died from unrelated causes. See Florida Fish and Wildlife

Conservation Commission, Descriptions of Manatee Death Categories (last visited May 20,

2025) https://perma.cc/65B8-Z8AK (describing watercraft, canal locks, poaching, and

fishing equipment as other causes of manatee deaths).

       The district court cited Loggerhead Turtle, where this Court concluded that sea

turtle plaintiffs had standing to sue a county government under the ESA. But that case

is readily distinguishable. Loggerhead Turtle involved “a regulatory entity that exerts con-

trol over the use of something that allegedly takes protected wildlife.” Loggerhead Turtle

v. Cnty. Council of Volusia Cnty., 148 F.3d 1231, 1251 (11th Cir. 1998). Here, DEP had

no control over the majority of “legacy pollutants” the court found caused Plaintiff’s

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injury, and has no authority to implement the wildlife wellness programs required by

the injunction, see infra 10-12. This Court has recognized in cases otherwise similar to

Loggerhead Turtle that standing is not present where the defendant lacks “‘absolute au-

thority to issue environmental ordinances that would ... prevent plaintiffs’ injuries.’”

BBX Cap. v. FDIC, 956 F.3d 1304, 1313 (11th Cir. 2020). Those key causation and

redressability differences similarly defeat standing here.

       2.     In addition to lacking Article III standing generally, Plaintiff lacks standing

for several of the specific provisions of the injunction. See TransUnion LLC v. Ramirez,

594 U.S. 413, 431 (2021) (“standing is not dispensed in gross”). Both the requirement

that DEP apply for an incidental take permit (ITP) and the requirement that it develop

and implement three new manatee programs fail the causation and redressability re-

quirements.

       The injunction’s requirement that DEP apply for an ITP, R.190 ¶ 1, will fail to

redress Plaintiff’s injury for two independent reasons. First, these permits are discre-

tionary, and there is no guarantee the U.S. Fish & Wildlife Service would grant DEP’s

application. See 16 U.S.C. § 1539(a)(1) (USFWS “may” grant a permit). Second, even if

the permit were granted, DEP would be free to continue the very incidental taking that

Plaintiff alleges is the source of its injury. See R.59 at 31 (complaining that “DEP has

‘incidentally taken’ manatees in the North IRL within the meaning of the ESA”). In




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other words, applying for and receiving a permit would provide explicit federal authoriza-

tion to continue the very conduct that Plaintiff complains of. This is the antithesis of

redressability.

         Moreover, several of the injunction’s specific requirements direct DEP to per-

form activities outside its statutory authority. This Court has made clear that suing the

wrong defendant creates insurmountable causation and redressability problems. See Ja-

cobson v. Fla. Sec’y of State, 974 F.3d 1236, 1253 (11th Cir. 2020). “[W]here, as here, a

plaintiff has sued to enjoin a government official from enforcing a law, he must show,

at the very least, that the official has the authority to enforce the particular provision

that he has challenged, such that an injunction prohibiting enforcement would be ef-

fectual.” Support Working Animals, Inc. v. Governor of Fla., 8 F.4th 1198, 1201 (11th Cir.

2021).

         In Jacobson, the plaintiffs’ injuries regarding ballot format were not “traceable to

the Secretary [of State]—the only defendant in this action” because the officials respon-

sible for ballot order were “independent officials under Florida law who are not subject

to the Secretary’s control.” 974 F.3d at 1253. The lawsuit thus could not “provide re-

dress” because “[i]f a plaintiff sues the wrong defendant, an order enjoining the correct

official who has not been joined as a defendant cannot suddenly make the plaintiff's

injury redressable.” Id. at 1254-55. This is because, for the redressability prong, “‘it must




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be the effect of the court’s judgment on the defendant’—not an absent third party—‘that re-

dresses the plaintiff's injury, whether directly or indirectly.’” Lewis v. Governor of Ala., 944

F.3d 1287, 1301 (11th Cir. 2019) (en banc).

       Simply put, injunctive relief must be addressed to state officials who have the

power to remedy the plaintiff’s injury. If the defendant cannot effectuate the plaintiff’s

proposed remedy, then the plaintiff’s injury is neither traceable to, nor redressable by,

the defendant for purposes of Article III standing. Jacobson, 974 F.3d at 1253-56.

       Here, the injunction’s requirement that DEP “establish and implement a bio-

medical assessment program for manatees,” “establish a supplemental feeding program

for manatees,” and “submit quarterly reports … documenting mortality statistics for

both adults and neonatal manatees, as well as live manatee recoveries,” R.190 ¶¶ 2-4,

are directed at an agency without statutory authority to implement them. Under state

law, DEP is not responsible for, has no authority to, and lacks the necessary expertise

to monitor or provide care for marine mammal populations. Its authority is limited to

managing air and water “pollution.” Fla. Stat. § 403.061.

       Instead, the Florida Constitution vests the authority over “management, protec-

tion, and conservation” of marine mammal life in the Florida Fish & Wildlife Conser-

vation Commission. Fla. Const. Art. 4 § 9. Florida statutes further specify that ensuring

the stability of manatee populations is the Commission’s responsibility. See, e.g., Fla.

Stat. § 20.331 (the Commission shall “[m]onitor the status and health of marine life”

and “[d]evelop restoration and management techniques”); § 379.2433.

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       The Commission, in other words, is the agency with authority under state law to

carry out the injunction’s remedial programs (even assuming the finding of liability and

injunction were appropriate in the first place). It is an “independent” body “not subject

to [DEP’s] control.” Jacobson, 974 F.3d at 1253. But Plaintiff chose to sue DEP, not the

Commission. And “[a]ny persuasive effect a judicial order might have upon [other agen-

cies], as absent nonparties who are not under the [DEP’s] control, cannot suffice to

establish redressability.” Id. at 1254.

       B. Plaintiff failed to prove proximate causation under the ESA as a
             matter of law.
       DEP is also likely to succeed on appeal because Plaintiff did not establish prox-

imate causation as a matter of law. “In order for regulatory acts to result in ESA liability,

there must be a close connection between the liable actor’s conduct and habitat destruction or

killing of endangered species.” Fla. Panthers v. Collier County, 2016 WL 1394328, at *22

(M.D. Fla. Apr. 8, 2016) (emphasis added). Here, the causal connection between DEP’s

permitting and the current taking of any manatees is quite attenuated, as it depends on

“legacy pollution”—much of which was permitted by a different agency years earlier—

creating conditions in the lagoon that, along with other factors, impaired the ability of

seagrasses to grow and, in turn, affected manatees’ diets. R.172 at 16.

       In finding proximate causation, the district court cited Justice O’Connor’s con-

currence in the Sweet Home. There, Justice O’Connor gave the example that a farmer

who drained a pond on his property would be the proximate cause of the taking of any



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endangered fish that died as a result. Babbitt v. Sweet Home Chapter of Communities for a

Great Oregon, 515 U.S. 687, 713 (1995) (O’Connor, J., concurring). The district court

found that analogy relevant here—DEP purportedly violated the ESA by harming the

manatees’ habitat. R.172 at 18; R.134 at 15. But the far more apt example from Justice

O’Connor’s concurrence is one she provided to show when proximate cause under the

ESA would not be satisfied: where “‘a farmer who tills his field and causes erosion that

makes silt run into a nearby river which depletes oxygen and thereby [injures] protected

fish.’” Sweet Home, 515 U.S. at 713.

       DEP’s activities here are even more attenuated than the farmer whose tilling in-

directly affects endangered fish. DEP issues permits for structures built by third parties

that may release chemicals to groundwater, which then travel underground to the la-

goon, which may then contribute to the growth of algae, which could shade seagrasses,

which could limit the growth of the seagrasses, and thereby purportedly harm a food

source for manatees. The principal focus of Justice O’Connor’s concurrence was on

how proximate-cause principles should “alleviate” the harsh results of applying the

ESA’s stringent liability provisions to indirect takes of endangered species. Id. at 709,

713.

       It strains causation beyond its breaking point to suggest that DEP’s permitting

regime foreseeably caused manatee takings. In a similar case involving licensing use of

state water that allegedly damaged a whooping crane habitat, the Fifth Circuit concluded

“licensing is, in this case, indirect and far removed from committing acts with

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knowledge that a habitat will be adversely affected and the species killed.” Aransas Project

v. Shaw, 775 F.3d 641, 659 n.12 (5th Cir. 2014). The Fifth Circuit concluded the habitat

harm was not foreseeable because it depended on “[c]ontingencies concerning permit-

tees’ and others’ water use, the forces of nature, and the availability of particular foods

to whooping cranes.” Id. at 662.

       Just as in that case, the foreseeability requirement is not met here as a matter of

law because of factors including “remoteness, attenuation, or the natural and probable

consequences of actions.” Id. at 658. Indeed, Plaintiff’s complaint correctly acknowl-

edges that extreme weather events such as hurricanes would have contributed to any

impacts on the types of food available to manatees. R.59.

       In the district court’s summary judgment order, it distinguished Aransas Project

on the ground that it involved “extraordinary conditions” while in this one “eutrophi-

cation from OSTDS and wastewater treatment plant discharges can be predicted as a

function of population growth and is not solely caused by natural weather events.”

R.134 at 14. But that summary misses key facts from both cases. Aransas Project involved

private parties withdrawing water from rivers that led to “a significant reduction in

freshwater inflow” which, combined with a drought, harmed the whooping crane hab-

itat. 775 F.3d at 646-47.

       This case similarly involved “extraordinary conditions” that contributed to eu-

trophication, such as hurricanes. R.59 ¶ 35. While the district court found that a healthy

lagoon could recover from sea-grass loss from hurricanes, R.134 at 10, that does not

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change the fact that both man-made and natural causes contributed to seagrass loss in

this case, just as they both contributed to drought conditions in Aransas Project in un-

foreseeable ways. This Court is likely to conclude that DEP’s permitting process did

not foreseeably result in harm to manatees and thus causation was lacking as a matter

of law.

       C. The Injunction violates Tenth Amendment anti-commandeering
            law.
       The injunction also violates anti-commandeering principles. Under the Tenth

Amendment, “the Federal Government may not compel the States to implement, by

legislation or executive action, federal regulatory programs.” Printz v. United States, 521

U.S. 898, 925 (1997). This prohibition is particularly concerned with situations where

the federal government “require[s] the States in their sovereign capacity to regulate their

own citizens” and “require[s] state officials to assist in the enforcement of federal stat-

utes regulating private individuals.” Reno v. Condon, 528 U.S. 141, 151 (2000).

       That is precisely what the injunction requires here. The true targets of Plaintiff’s

lawsuit are private entities allegedly violating the ESA with environmentally damaging

septic systems in the North Indian River Lagoon area. For those ESA violations, “any

person” can file a suit for injunctive relief against those entities directly. See 16 U.S.C.

§ 1540(g)(1). But Plaintiff did not take that direct route. By taking the indirect route (i.e.,




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suing DEP to force it to regulate as Plaintiff would prefer), Plaintiff effectively “com-

mandeer[s] [the] State’s … administrative machinery for federal purposes.” Burban v.

City of Neptune Beach, 920 F.3d 1274, 1281 (11th Cir. 2019).

       The injunction requires that DEP “cease to issue new permits for the construc-

tion and installation of onsite sewage treatment and disposal systems” in the relevant

area, effectively dictating how DEP implements its state-law regulatory authority. R.190

at 3. And the requirement that DEP apply for a take permit, R.190 at 1, is similarly

premised on the idea that DEP is required to regulate third parties in a way that prevents

any additional pollutants that might exacerbate the conditions that “legacy pollutants”

are causing in the lagoon. Both of these judicial commands require DEP to exert regu-

latory power over private parties in a manner that commandeers state regulatory au-

thority.

       The district court rejected DEP’s anti-commandeering argument, reasoning that

because “[t]he ESA applies to ‘any person,’” “‘[t]he anticommandeering doctrine does

not apply when Congress evenhandedly regulates an activity in which both States and

private actors engage.’” R.172 at 11. The court cited Reno, which rejected an anti-com-

mandeering challenge to a statute that “regulate[d] the States as the owners of data

bases.” 528 U.S. at 151. But Reno distinguished that statute from one that “require[s]

the States in their sovereign capacity to regulate their own citizens” or “require[s] state

officials to assist in the enforcement of federal statutes regulating private individuals.”




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Id. Other courts have similarly explained that while federal law may “pervasively regu-

late[] states as marketplace participants; the anti-commandeering rule comes into play

only when the federal government calls on the states to use their sovereign powers as

regulators of their citizens.” Travis v. Reno, 163 F.3d 1000, 1004-05 (7th Cir. 1998).

       That is precisely what this injunction does. While the ESA may apply to both

private individuals and States, no entity apart from the State has sovereign power to

indefinitely deny all septic system permits. That is a quintessential instance of “re-

quir[ing] the States in their sovereign capacity to regulate their own citizens.”

       This Court has endorsed that view of the anti-commandeering doctrine. In Bur-

ban v. City of Neptune Beach, the plaintiff attempted to force a municipal office to issue a

form of identification that would entitle her to a concealed carry permit under federal

law. 920 F.3d at 1276. This Court affirmed dismissal of the lawsuit on anti-comman-

deering grounds despite the plaintiff’s argument that the relevant law applied to private

parties. Id. at 1281. The Court rejected that distinction and explained that the plaintiff’s

“proposal that we require states to issue identification plainly seeks to control how

States regulate private parties, as opposed to regulating state activities.” Id. Just so here:

the injunction would require the Florida DEP to regulate its citizens to prevent them

from allegedly violating a federal statute, which is a paradigmatic commandeering of

state authority.




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   II.      DEP will be irreparably harmed in the absence of a stay.
         Where, as here, a state seeks to stay enforcement of a federal decree against it,

“often ‘the harms and equities [will be] very weighty on both sides,’” and consequently

the “resolution of these stay requests ultimately turns on the merits and the question

who is likely to prevail at the end of this litigation.” Ohio v. EPA, 603 U.S. 279, 291

(2024). As a result, DEP’s analysis of likelihood of success above provides a sufficient

basis for granting a stay pending appeal.

         In addition, DEP is likely to incur substantial costs complying with the injunc-

tion’s requirements to apply for an ITP permit and establish manatee monitoring, feed-

ing, and reporting programs that it will not be able to recoup from Plaintiff if this appeal

is successful. This Court has repeatedly held that “unrecoverable monetary loss is an

irreparable harm.” Georgia v. President of the U.S., 46 F.4th 1283, 1302 (11th Cir. 2022)

(citing cases). Further, part of the injunction prevents DEP from issuing septic permits

under state law, and “‘any time a State is enjoined by a court from effectuating statutes

enacted by representatives of its people, it suffers a form of irreparable injury.’” Hand

v. Scott, 888 F.3d 1206, 1214 (11th Cir. 2018).

   III. The balance of the equities supports granting a stay.
         The public interest also counsels for granting a stay pending appeal. In the ab-

sence of a stay, DEP will be required to implement new manatee monitoring and feed-

ing programs immediately, programs which it is not statutorily authorized to manage

and which will likely be abandoned if DEP prevails before this Court on the merits.



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Supra 10-12. This exercise will potentially waste considerable Florida tax dollars with no

possibility of recovery.

       The indefinite moratorium on the construction of new septic systems further

threatens to impede commercial and residential development in the state. Florida law

specifically authorizes construction using “nutrient-reducing onsite sewage treatment and

disposal systems” or similar nitrogen-reducing “wastewater treatment systems.” Fla.

Stat. § 373.469. And the third-party property owners and developers affected by the

court’s decree have no ready means to challenge this moratorium, as they are not parties

to this action. In addition, though Plaintiff described the moratorium as “temporary,”

it has no stated end date. It purports to remain in place unless and until DEP receives

an Incidental Take Permit—by no means a sure thing. See R.190 at 3.

       Finally, the public interest supports a stay because the federal government is

poised to significantly amend its ESA regulations, which would moot both this case and

the injunction’s remedies. Plaintiff’s case relies on federal regulations that expand the

statutory definition of “harm” to include “significant habitat modification or degrada-

tion which kills or injures wildlife by significantly impairing essential behavioral pat-

terns, including breeding, feeding or sheltering.” R.59 ¶¶ 16, 44 (quoting 50 C.F.R.

§ 17.3).

       On April 17, 2025, the U.S. Fish and Wildlife Service and National Marine Fish-

eries Service published a proposed rule that would completely excise that definition of




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“harm” under the ESA. See Rescinding the Definition of “Harm” Under the Endan-

gered Species Act, 90 Fed. Reg. 16102, 16105 (Apr. 17, 2025). The proposed regulation

instead rests only on the definition of “take,” which “require[s] an affirmative act di-

rected immediately and intentionally against a particular animal—not an act or omission

that indirectly or accidentally causes injury to a population of animals.” Id. at 16103

(cleaned up).

       Plaintiff has never contended DEP is intentionally killing manatees via pollu-

tants; it has instead rested its entire case on the notion that DEP “indirectly or acci-

dentally causes injury” to manatees. If this new regulation is finalized, it will thus moot

Plaintiff’s entire case. It would represent an extraordinary waste of resources to force

DEP to come into immediate compliance with an injunction that may in short order be

foreclosed by federal law (even apart from DEP’s case-specific defenses to liability and

the injunction under existing law).

   IV.    DEP respectfully requests a decision on this motion, or an ad-
          ministrative stay, by June 17.
       As discussed, several key provisions of the injunction will take effect on June 17.

DEP respectfully requests a decision on this stay motion by that date. DEP has taken

all possible steps to obtain a prompt decision on its request for a stay. DEP moved for

a stay in the district court just four days after the injunction was issued and is filing this

motion just seven days after that.




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       Alternatively, if the Court is unable to rule on this motion before June 17, DEP

respectfully requests an administrative stay of the injunction pending disposition of this

motion. This Court can issue “administrative” relief that “buys the court time to delib-

erate” on a broader request for expedited relief. United States v. Texas, 144 S.Ct. 797, 798

(2024) (Barrett, J., concurring) (discussing administrative stays); accord Klay v. United

Healthgrp., 376 F.3d 1092, 1099-1100 (11th Cir. 2004). Their “point” is to “minimize

harm” in the short period between now and “the time it takes” for the court to resolve

the underlying motion. Texas, 144 S.Ct. at 798-99 (Barrett, J., concurring).

                                   CONCLUSION
       This Court should stay the district court’s injunction pending its consideration

of the merits of this appeal. DEP respectfully requests a decision on this motion, or an

administrative stay, before the injunction takes effect on June 17.

Dated: May 29, 2025                            Respectfully submitted,

Jeffrey Brown                                  /s/ Jeffrey M. Harris
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                    CERTIFICATE OF COMPLIANCE
      This motion complies with Rule 27 because it contains 5,174 words, excluding

the parts that can be excluded. It also complies with Rule 32(a)(5)-(6) because it is pre-

pared in a proportionally spaced face using Microsoft Word 2016 in 14-point Gara-

mond font.

Dated: May 29, 2025                                       /s/ Jeffrey M. Harris


                        CERTIFICATE OF SERVICE
      I filed this motion with the Court via CM/ECF, which will send a notice of

docketing activities to all parties who are registered through CM/ECF.

Dated: May 29, 2025                                       /s/ Jeffrey M. Harris




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